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                                                                     1
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                                                                          [Proposed] Counsel to Bradley D. Sharp,
                                                                     7    Chapter 11 Trustee

                                                                     8

                                                                     9                                 UNITED STATES BANKRUPTCY COURT

                                                                    10                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                    11                                         LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   In re:                                                 Case No.: 2:23-bk-10990-SK

                                                                    13   LESLIE KLEIN,                                          Chapter 11
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14                                   Debtor.                STIPULATION TO CONTINUE
                                                                                                                                HEARING ON MOTION FOR RELIEF
                                                                    15                                                          FROM THE AUTOMATIC STAY UNDER
                                                                                                                                11 U.S.C. § 362
                                                                    16
                                                                                                                                [Relates to Docket Nos. 174 and 184]
                                                                    17
                                                                                                                                Date:    July 12, 2023
                                                                    18                                                          Time:    8:30 a.m.
                                                                                                                                Place:   Courtroom 1575
                                                                    19                                                          Judge:   255 E. Temple Street
                                                                                                                                Judge:   Los Angeles, CA 90012
                                                                    20

                                                                    21            Bradley D. Sharp (the “Trustee”), the duly appointed trustee for the chapter 11 estate of
                                                                    22   Leslie Klein (the “Debtor”), and NewRez LLC dba Shellpoint Mortgage Servicing, as servicer for
                                                                    23   J.P. Morgan Mortgage Acquisition Corp. (“Movant,” and together with the Trustee, the “Parties”),
                                                                    24   by and through their respective attorneys, agree and stipulate to the following:
                                                                    25                                                 RECITALS
                                                                    26            A.        The Debtor commenced a voluntary chapter 11 case on February 22, 2023. On
                                                                    27   March 10, 2023, the Office of the United States Trustee (the “UST”) filed a statement regarding the
                                                                    28


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                                                                     1   Debtor’s failure to comply with various requirements under the Bankruptcy Code, Bankruptcy

                                                                     2   Rules, and certain notices and guidelines promulgated by the UST. [Docket No. 42].

                                                                     3           B.         On May 23, 2023, the UST filed a notice appointing the Trustee as the chapter 11

                                                                     4   trustee of the Debtor’s chapter 11 case. [Docket No. 151].

                                                                     5           C.         On May 24, 2023, the UST filed an application for an order approving the

                                                                     6   appointment of Mr. Sharp as the Trustee. [Docket No. 154].

                                                                     7           D.         On May 24, 2023, the Court entered an order approving the appointment of Mr. Sharp

                                                                     8   as the Trustee. [Docket No. 155].

                                                                     9           E.         On May 24, 2023, Mr. Sharp accepted his appointment as Trustee. [Docket No. 156].

                                                                    10           F.         The Debtor owns real property located at 143 S. Highland, Los Angeles, California

                                                                    11   (the “Property”) which is therefore an asset of the estate. [Docket No. 70 at Pt. 1.3]
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12           G.         On June 14, 2023, Movant filed the Motion Seeking Relief from the Automatic Stay

                                                                    13   (the “Stay Motion”) so that it can foreclose against the Property due to the Debtor’s failure to make
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   timely payments under the applicable loan documents. [Docket No. 174].

                                                                    15           H.         On June 28, 2023, counsel for the Trustee filed the Chapter 11 Trustee’s Response to

                                                                    16   the Motion for Relief from the Automatic Stay Under 11 U.S.C. §362 [Docket No. 184] (the

                                                                    17   “Response”) where the Trustee seeks to continue the hearing on the Stay Motion so that he can

                                                                    18   engage a real estate broker to market and sell the Property.

                                                                    19           I.         After filing the Response, the Trustee and Movant agreed that the Stay Motion be

                                                                    20   continued so that the Trustee can engage a real estate broker who can market and sell the Property.

                                                                    21   The proceeds of any sale would be used to pay off the valid claims asserted by Movant and the

                                                                    22   excess proceeds would be paid into the Debtor’s estate for the Trustee to administer.

                                                                    23           J.         The Parties recognize and agree that, in the interests of judicial economy, the hearing

                                                                    24   on the Stay Motion should be continued for a period of no less than four (4) months to allow the

                                                                    25   Trustee sufficient opportunity to market and sell the Property for the benefit of Movant and all other

                                                                    26   creditors of this estate, thereby potentially obviating the need for the Court to adjudicate the Stay

                                                                    27   Motion.

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                                                                     1   NOW THEREFORE, the Parties have conferred and stipulate as follows:
                                                                     2                                                 STIPULATION

                                                                     3           1.         For the reasons set forth herein, the hearing on the Stay Motion shall be continued for

                                                                     4    a period of no less than four (4) months from entry of an order approving this Stipulation.

                                                                     5           2.         The Parties may extend the continuation of the hearing on the Stay Motion by filing a

                                                                     6    stipulation with the Court and uploading a proposed order.

                                                                     7           3.         If at the conclusion of the four (4) month continuation Movant no longer consents to

                                                                     8    the continuation of the Stay Motion Movant may file a notice setting the Stay Motion for a new

                                                                     9    hearing on regular notice.

                                                                    10           IN WITNESS WHEREOF, counsel for the Trustee and Movant have executed this

                                                                    11   Stipulation as of the dates set forth below.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12

                                                                    13   Dated: July 7, 2023                              PACHULSKI STANG ZIEHL & JONES LLP
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14
                                                                                                                          By:            /s/ John W. Lucas
                                                                    15                                                          John W. Lucas

                                                                    16                                                          [Proposed Counsel] to Bradley D. Sharp,
                                                                                                                                Chapter 11 Trustee
                                                                    17
                                                                         Dated: July 7, 2023                              BONIAL & ASSOCIATES, P.C.
                                                                    18

                                                                    19                                                    By:            /s/ Kristen Martinez
                                                                                                                                Austin Nagel
                                                                    20                                                          Kirsten Martinez

                                                                    21                                                          Attorneys for Movant New Rez LLC dba
                                                                                                                                Shellpoint Mortgage Servicing as servicer for
                                                                    22                                                          J.P. Morgan Mortgage Acquisition

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

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                                                                                                                                3
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          NOW THEREFORE, the Parties have conferred and stipulate as follows:

                                              STIPULATION

          1.      For the reasons set forth herein, the hearing on the Stay Motion shall be continued for

    a period of no less than four (4) months from entry of an order approving this Stipulation.

          2.      The Parties may extend the continuation of the hearing on the Stay Motion by filing a

    stipulation with the Court and uploading a proposed order.

          3.       If at the conclusion of the four (4) month continuation Movant no longer consents to

    the continuation of the Stay Motion Movant may file a notice setting the Stay Motion for a new

    hearing on regular notice.

          IN WITNESS WHEREOF, counsel for the Trustee and Movant have executed this

   Stipulation as of the dates set forth below.


                7 2023
   Dated: July __,                                PACHULSKI STANG ZIEHL & JONES LLP


                                                  By
                                                         John W. Lucas

                                                  [Proposed Counsel] to Bradley D. Sharp,
                                                  Chapter 11 Trustee


   Dated: July 7, 2023                            BONIAL & ASSOCIATES, P.C.


                                                  By
                                                         Austin Nagel
                                                         Kirsten Martinez

                                                  Attorneys for Movant New Rez LLC dba Shellpoint
                                                  Mortgage Servicing as servicer for J.P. Morgan
                                                  Mortgage Acquisition
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO CONTINUE
HEARING ON MOTION FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 7, 2023I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) July 7, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  July 7, 2023                    Rolanda Mori                                                   /s/ Rolanda Mori
  Date                            Printed Name                                                   Signature




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June 2012                                  F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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        1648609420@filings.docketbird.com

2. SERVED BY UNITED STATES MAIL:


 Peter C. Anderson, U.S. Trustee                          Nikko S. Stevens                                         Joshua L. Scheer
 Michael Jones, Assistant U.S. Trustee                    CHORA YOUNG & MANASSERIAN LLP                            Scheer Law Group, LLP
 Office of the U.S. Trustee                               650 Sierra Madre Villa Ave., Ste. 304                    85 Argonaut, Suite 202
 915 Wilshire Boulevard, Suite 1850                       Pasadena, CA 91107                                       Aliso Viejo, CA 92656
 Los Angeles, CA 90017




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Eric J. Olson                                             Nathan Talei                                             Brett Wasserman
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Pasadena, CA 91101                                        Encino, CA 91436                                         Beverly Hills, CA 90212




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